AND COMMUNITIES @

June 9, 2006

To Whom It May Concer,

providing individual and family therapy for Brian and his parents for
th issues,

avoidance of boating/swimming related activities and some hyper arousal. The above i sympto:

of b mentioned
subsided within the first month of the accident. This client's response to the boating accident appears to be
fonsistent with an acute stress reaction that has since been resolved, .

Please feel free to contact me at 919 784 9182 ext. 1205 if you have any questions.

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Eric Harbour MSW, LCSW
ASAP Clinical Services-Program Coordinator

Exhibit "1"

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